Case: 6:18-cv-00145-GFVT Doc #: 17 Filed: 06/06/18 Page: 1 of 8 - Page ID#: 147



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                               CASE NO. 6: 18-CV-00145-GFVT


THE UNITED STATES OF AMERICA,                                         PLAINTIFF,

vs.

UNKNOWN HEIRS OF THE ESTATE
OF KATTIE CREECH AKA KATIE CREECH

UNKNOWN EXECUTOR/ADMINISTRATOR
OF THE ESTATE OF KATTIE CREECH

RANDY ADKINS

UNKNOWN SPOUSE OF RANDY ADKINS

TONYA EVANS

UNKNOWN SPOUSE OF TONYA EVANS

RHONDA LYNN BREWER

UNKNOWN SPOUSE OF RHONDA BREWER

COMMONWEALTH OF KENTUCKY, DIVISION OF UNEMPLOYMENT INSURANCE

ASSETS ACCEPTANCE, LLC

CAPITAL ONE SERVICES, INC.

AND

DANIEL BOONE COMMUNITY ACTION AGENCY, INC.                            DEFENDANTS.


      DEFENDANT, DANIEL BOONE COMMUNITY ACTION AGENCY, INC., ANSWER

        The Defendant, Daniel Boone Community Action Agency, Inc., by and through counsel,

for its answer to the Plaintiff’s complaint states as follows:


                                             Page 1 of 8
Case: 6:18-cv-00145-GFVT Doc #: 17 Filed: 06/06/18 Page: 2 of 8 - Page ID#: 148




                                         FIRST DEFENSE

       The complaint fails to state a claim upon which relief can be granted and therefore should

be dismissed.

                                        SECOND DEFENSE

       The Defendant, Daniel Boone Community Action Agency, Inc., pleads the affirmative

defenses set forth in civil rule 8.03, including but not limited to estoppel.

                                         THIRD DEFENSE

       The Defendant, Daniel Boone Community Action Agency, Inc., is the holder of a certain

mortgage a copy of which is attached hereto as Exhibit “A” and incorporated herein by
reference,

and a note, attached as Exhibit “B” and incorporated herein by reference, both dated May 4th,

2010, between Kattie Creech, and her husband, Jimmy Creech, as Mortgagors

and Makers respectively, the mortgage being recorded in mortgage book 174 at Page 540,
records

of the Jackson County Clerk’s Office, McKee, Kentucky.

       The Defendant, Daniel Boone Community Action Agency, Inc., fka Daniel Boone

Development Council, is a non-profit corporation organized under the laws of Kentucky with a

principal address of 1535 Shamrock Road, Manchester, Kentucky 40962, and its agent for

service at said address is Mike Buckles. The Defendant, Daniel Boone Community Action

Agency, Inc., admits to all things of record in the Jackson County Clerk’s Office, McKee,

Kentucky. The Defendant, Daniel Boone Community Action Agency, Inc., admits paragraphs

number 1, 2, 3, 4, 5, 10, 11, 12, 13, 14, 15, and 16 of the Plaintiff’s complaint. The Defendant,

Daniel Boone Community Action Agency, Inc., is without sufficient information or knowledge

                                             Page 2 of 8
Case: 6:18-cv-00145-GFVT Doc #: 17 Filed: 06/06/18 Page: 3 of 8 - Page ID#: 149



sufficient to form a belief as to the truth of the remaining factual allegations contained in the

Plaintiff’s complaint in paragraphs numbered: 6, 7, 8, 9, 19, 20, and 21 and therefore denies the
same generally.

       WHEREFORE, the Defendant, Daniel Boone Community Action Agency, Inc., hereby

requests as follows:

       1) That the Defendant, Daniel Boone Community Action Agency, Inc., is the

holder of a secondary mortgage and note on the property described in the mortgage recorded

in mortgage book 174, at Page 540, records of the Jackson County Clerk’s Office, McKee,

Kentucky.

       2) All other relief to which the Defendant, Daniel Boone Community Action Agency,
Inc.

may be entitled.

       DEFENDANT, DANIEL BOONE COMMUNITY ACTION AGENCY, INC., fka
       DANIEL BOONE DEVELOPMENT COUNCIL, COUNTER CLAIM AND CROSS
       CLAIM

       Comes now, the Defendant, Daniel Boone Community Action Agency, Inc., a Kentucky

Non-Profit Corporation, by and through its undersigned attorney and for its cross claim and

counter claim hereby states as follows:

       1) The Defendant, Daniel Boone Community Action Agency, Inc., is a non-profit

Kentucky Corporation, with a principal address of 1535 Shamrock Road, Manchester, Kentucky,

and whose registered agent at said address is Mike Buckles, and said corporation was formerly

known as Daniel Boone Development Council, who is the holder of a mortgage and note

attached as Exhibits “A” and Exhibit “B” respectively reference to both of which is hereby made

and incorporated herein.


                                            Page 3 of 8
Case: 6:18-cv-00145-GFVT Doc #: 17 Filed: 06/06/18 Page: 4 of 8 - Page ID#: 150



       2) That Katie Creech, had a last known address of P.O. Box 634, McKee,

Kentucky 40447, and it is the understanding and belief of the Defendant, Daniel Boone

Community Action Agency, Inc., that she is now deceased, and her heirs are unknown.

       3) That Jimmy Creech, had a last known address of P.O. Box 634, McKee, Kentucky

40447, and it is the understanding and belief of the Defendant, Daniel Boone Community Action

Agency, Inc., that he is now deceased having passed away before his wife, Katie Creech.

       4) That Jimmy Creech and Katie Creech signed and executed a mortgage in favor of the

Defendant, Daniel Boone Community Action Agency, Inc. against the property more fully

described in said mortgage shown in Exhibit “A” hereto, reference to which is made for a more

particular description, and said mortgage was recorded in Mortgage Book 174, at Page 574,

records of the Jackson County Clerk’s Office, McKee, Kentucky.

       5) The Defendant, Daniel Boone Community Action Agency, Inc., fka Daniel Boone

Development Council, is holder of a mortgage lien against the property subject only to the

mortgage of the Plaintiff, United States of America, and unpaid ad valorem real property taxes.

       6) For value received, Katie Creech and Jimmy Creech, wife and husband, executed a

promissory note to the Defendant, Daniel Boone Community Action Agency, Inc., dated May

10th, 2010, in the principal amount of Forty Thousand Dollars and No Cents ($40,000.00), under

the Federal HOME Investment Partnership Program.

       7) As of May 18, 2018, Katie Creech and Jimmy Creech owed to the Defendant,

Daniel Boone Community Action Agency, Inc., fka Daniel Boone Development Council, the

sum of $8,000.00, plus interest at the default rate of 12 % per annum as stated in the note

attached in Exhibit “B”.


                                           Page 4 of 8
Case: 6:18-cv-00145-GFVT Doc #: 17 Filed: 06/06/18 Page: 5 of 8 - Page ID#: 151



        8) The above described property is indivisible and can not be divided without materially

impairing its value, the interests of the parties.

        9) The Defendant, Daniel Boone Community Action Agency, Inc., has employed outside

unsalaried counsel in an attempt to collect the above reference indebtedness and is therefore

entitled to it’s reasonable attorney fees and costs in this action as provided for in the respective

loan documents.

        10) The Plaintiff-Counter Defendant, The United States of America, is the holder of a

certain note and mortgage through the Department of Rural Development, dated May 4, 2010,

which is a first lien against the property, as more fully set out in the Plaintiff’s complaint.

        11) The Defendant, Daniel Boone Community Action Agency, Inc., incorporates

by reference paragraph numbered 10 of the original Plaintiff’s complaint including but not

limited to all Exhibits referenced in said paragraphs as it fully set out.

        12) The Defendant, Daniel Boone Community Action Agency, Inc., incorporates

by reference paragraph numbered 11 of the original Plaintiff’s complaint including but not

limited to all Exhibits referenced in said paragraphs as it fully set out.

        13) The Defendant, Daniel Boone Community Action Agency, Inc., incorporates

by reference paragraph numbered 12 of the original Plaintiff’s complaint including but not

limited to all Exhibits referenced in said paragraphs as it fully set out.

        14) The Defendant, Daniel Boone Community Action Agency, Inc., incorporates

by reference paragraph numbered 13 of the original Plaintiff’s complaint including but not

limited to all Exhibits referenced in said paragraphs as it fully set out.

        15) The Defendant, Daniel Boone Community Action Agency, Inc., incorporates


                                              Page 5 of 8
Case: 6:18-cv-00145-GFVT Doc #: 17 Filed: 06/06/18 Page: 6 of 8 - Page ID#: 152



by reference paragraph numbered 14 of the original Plaintiff’s complaint including but not

limited to all Exhibits referenced in said paragraphs as it fully set out.

       16) The Defendant, Daniel Boone Community Action Agency, Inc., incorporates

by reference paragraph numbered 15 of the original Plaintiff’s complaint including but not

limited to all Exhibits referenced in said paragraphs as it fully set out.

       17) The Defendant, Daniel Boone Community Action Agency, Inc., incorporates

by reference paragraph numbered 16 of the original Plaintiff’s complaint including but not

limited to all Exhibits referenced in said paragraphs as it fully set out.

       18) The Defendant, Daniel Boone Community Action Agency, Inc., incorporates

by reference paragraph numbered 17 of the original Plaintiff’s complaint including but not

limited to all Exhibits referenced in said paragraphs and attached to the complaint.

       WHEREFORE, the Defendant, Daniel Boone Community Action Agency, Inc. for its

cross claim and counterclaim herein, respectfully demands as follows:

       1) A judgment in favor of the Defendant, Daniel Boone Community Action Agency, Inc.,

in the amount of $8,000.00, plus interest, attorney fees, and costs.

       2) That the Defendant, Daniel Boone Community Action Agency, Inc., be adjudged to

have a valid secondary mortgage against the property subject only to the Plaintiff’s

mortgage and ad valorem taxes.

       3) That the mortgage lien be enforced and to the property be sold at auction and the sale

proceeds to be distributed to the parties hereto as their liens or interests appear.

       4) That the parties named herein be required to answer and set forth their interests in the

subject property, if any, or forever be barred.


                                             Page 6 of 8
Case: 6:18-cv-00145-GFVT Doc #: 17 Filed: 06/06/18 Page: 7 of 8 - Page ID#: 153



       5) For any and all other relief to which the Defendant, Daniel Boone Community Action

Agency, Inc. may appear to be entitled.
                                                   Respectfully Submitted,
                                                   s/Michael Cunnagin
                                                   MICHAEL CUNNAGIN
                                                   CUNNAGIN AND CUNNAGIN, PLC
                                                   P.O. BOX 1070
                                                   LONDON, KENTUCKY 40741-1070
                                                   (606) 864-7347

                                CERTIFICATE OF SERVICE

      I, the undersigned attorney, hereby certify that a copy of the foregoing Answer,
Counterclaim and Crossclaim was served on the following:

       Clunk, Hoouse Co., LPC      Via electronicserve @ tthompson@clunkhoose.com
       Travis W Thompson
       2360 Chauvin Drive, Suite 204
       Lexington KY 40517-3917

       and by US Mail to the following:

       Randy Adkins, a/k/a Randall Adkins
       448 Lower Hays Rd
       McKee KY 40447

       Tonya Evans
       90 Collier School Road
       Annville, KY 40402

       Rhonda Lynn Brewer
       240 Welchburg Estates Road
       Annville KY 40402

       Commonwealth of Kentucky
       Division of Unemployment Insurance
       c/o Attorney General, Capitol Building, Ste 118
       700 Capital Ave.
       Frankfort, KY 40621

       Asset Acceptance LLC
       c/o Corporation Service Company
       421 West Main Street

                                          Page 7 of 8
 Case: 6:18-cv-00145-GFVT Doc #: 17 Filed: 06/06/18 Page: 8 of 8 - Page ID#: 154



         Frankfort, KY 40601

         Capital One Services, Inc.
         C/o Molly E Rose
         Morgan & Pottinger
         401 S 4th Street, #1200
         Louisville KY 40202

         Douglas Glenn Benge
         Cessna and Benge
         203 S Main Street
         London, KY 407431-1906

         Eric S. Edwards
         Edwards Law Office
         P. O. Box 2216
         London KY 40743

         Julie Roberts Gillum
         Gillum & Gillum
         117 N Main Street
         P O Box 1147
         Somerset KY 42502-1147

         Bryan Kenneth Sergent
         Hamm, Milby & Ridings
         120 N Main
         London, KY 40741

         This the 6th day of June, 2018.

                                                   s/Michael C. Cunnagin
                                                   Michael C Cunnagin
                                                   Cunnagin & Cunnagin, PLC
                                                   P O Box 1070 - 201 S Main Street
                                                   London KY 40473-1070
                                                   Phone: (606) 864-7347
                                                   e-mail: cunnaginlaw@roadrunner.com
z:DBCAA-CREECH




                                           Page 8 of 8
